       Case 1:20-cv-01511-JLS-LGF Document 22-2 Filed 01/18/22 Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________________________________ _

MAXIM LEVIN and VODKA PROPERTIES, LLC
                                                                      PROOF OF SERVICE
                  Plaintiffs,
                                                                    Civil Action No.: 20-cv-1511
          -vs-

CITY OF BUFFALO, BYRON W. BROWN,
JAMES COMERFORD, JR., LOU PETRUCCI,
TRACEY KRUG, KEVIN COYNE, and
EMPIRE DISMANTLEMENT CO.

                  Defendants.
_________________________________________________________________


         I, Robert E. Quinn, hereby certify that on January 18, 2022, I electronically filed the

foregoing documents with the Clerk of the District Court using the EM/ECF system

which would then electronically notify the following participants in this case:



                                Jill L. Yonkers, Esq.
                             yonkers@ruppbaase.com
                               Chad Davenport, Esq.
                            Davenport@ruppbaase.com
                    RUPP BAASE PFALZGRAF CUNNINGHAM, LLC
                               1600 Liberty Building
                             Buffalo, New York 14202


                                  Stephen J. Stachowski, Esq.
                              LEWANDOWSKI & ASSOCIATES
                                       721 Center Road
                                West Seneca, New York 14224
                           sstachowski@lewandowskiandassoc.com




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    Case 1:20-cv-01511-JLS-LGF Document 22-2 Filed 01/18/22 Page 2 of 2




      I certify under penalty of perjury that the foregoing is true and correct.


Dated: January 18, 2022
       Buffalo, New York
                                                CAVETTE A. CHAMBERS, ESQ.
                                                Acting Corporation Counsel


                                                /s/Robert E. Quinn
                                                Robert E. Quinn
                                                Assistant Corporation Counsel
                                                1102 City Hall : 65 Niagara Sq.
                                                Buffalo, New York 14202
                                                Tel.: (716) 851-4326
                                                Fax.: (716) 851-4105
                                                E-mail: rquinn@city-buffalo.com




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